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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

                                               2:17-MD-2789 (CCC)(LDW)
    IN RE: PROTON-PUMP                                 (MDL 2789)
    INHIBITOR PRODUCTS                       and all member and related cases
    LIABILITY LITIGATION
                                                   Judge Claire C. Cecchi
    This Document Relates to:

    Freddy Bales (2:17-cv-06124-CCC-
    LDW)


                     CASE MANAGEMENT ORDER NO. 83
                 (Bellwether Pretrial Scheduling Order for Bales)



   I.    SCOPE AND APPLICABILITY

               This Case Management Order (“CMO”) is intended to conserve judicial

         resources, eliminate duplicative discovery, serve the convenience of the

         parties and witnesses, and promote the just and efficient conduct of this

         litigation. The following shall apply to Civil Action No. 2:17-cv-06124 in

         MDL 2789.


   II.   PRETRIAL SCHEDULE FOR BALES

         A.    Parties shall exchange witness lists for Bales on or before November

               18, 2022.
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        B.    Motions in limine for Bales shall be filed on or before November 21,

              2022.

        C.    Deposition designations for Bales shall be filed on or before December

              12, 2022.

        D.    Parties shall exchange lists of their “most likely to use” exhibits for

              Bales on or before December 29, 2022, identifying the approximately

              500 documents (exclusive of medical records and medical/scientific

              literature) they are most likely to offer into evidence at trial. If a party

              in good faith supplements its exhibit list before trial with a reasonable

              number of additional exhibits, the other party shall not object to the

              additional exhibits on the basis of timing of their addition to the exhibit

              list, but the party reserves the right to object to the additional exhibits

              on any other grounds.

        E.    Oppositions to motions in limine for Bales shall be filed on or before

              January 6, 2023.

        F.    Objections to deposition designations and counter-designations for

              Bales shall be filed on or before January 9, 2023.

        G.    Replies to oppositions to motions in limine for Bales and any

              stipulations to such motions shall be filed on or before January 20,

              2023.


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        H.    Objections to deposition counter-designations for Bales shall be filed

              on or before January 23, 2023.

        I.    Objections to the approximately 500 documents (exclusive of medical

              records and medical/scientific literature) that the parties are most likely

              to offer into evidence at trial for Bales shall be filed on or before

              January 23, 2023. The parties in Bales reserve their right to object to

              all other exhibits until time of trial.

        J.    Special Master Ellen Reisman shall issue Reports & Recommendations

              for Bales on Defendants’ motions for summary judgment, on

              AstraZeneca’s Daubert motion as to Dr. David Powers and Plaintiff

              Bales’ Daubert motions as to Dr. Jerry Hardisty, Dr. Richard Hansen,

              and Dr. Andrea Leonard-Segal, and on the parties’ motions in limine.

        K.    Objections to the Reports & Recommendations issued by Special

              Master Ellen Reisman for Bales on Defendants’ motions for summary

              judgment, on AstraZeneca’s Daubert motion as to Dr. David Powers

              and Plaintiff Bales’ Daubert motions as to Dr. Jerry Hardisty, Dr.

              Richard Hansen, and Dr. Andrea Leonard-Segal, and on the parties’

              motions in limine shall be filed within 21 days after the respective

              Reports & Recommendations are issued.




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        L.    Responses to objections to the Reports & Recommendations issued by

              Special Master Ellen Reisman for Bales on Defendants’ motions for

              summary judgment, on AstraZeneca’s Daubert motion as to Dr. David

              Powers and Plaintiff Bales’ Daubert motions as to Dr. Jerry Hardisty,

              Dr. Richard Hansen, and Dr. Andrea Leonard-Segal, and on the parties’

              motions in limine shall be filed within 7 days after the respective

              objections are filed.

        M.    If the Court determines that a hearing or additional oral argument on

              summary judgment and/or Daubert motions, or limited/certain parts

              thereof, is necessary, such a hearing will be scheduled at the Court’s

              convenience thereafter.

        N.    Parties may each on or before February 20, 2023 designate for ruling

              by the Court up to 50 priority exhibits and up to 8 priority deposition

              designations for Bales that were previously identified on their

              respective exhibit lists and deposition designations.

        O.    Each party shall submit proposed jury instructions, jury questionnaires,

              and verdict forms for Bales on or before February 20, 2023.

        P.    The parties shall submit a proposed Joint Pretrial Order to the Court for

              Bales on or before March 13, 2023.




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          Q.    The Court shall hold a final pretrial conference for Bales on a date(s) to

                be provided by the Court.

          R.    Trial for Bales will be held on April 10, 2023 (or 30 days after the Court

                decides summary judgment and Daubert motions, whichever is later).


   III.   MEET AND CONFER

                The Court reminds the parties that the Federal Rules of Civil Procedure

          “should be construed, administered, and employed by the court and the parties

          to secure the just, speedy, and inexpensive determination of every action and

          proceeding.” Fed. R. Civ. P. 1; see also Fed. R. Evid. 102 (Rules of evidence

          “should be construed so as to administer every proceeding fairly, eliminate

          unjustifiable expense and delay … to the end of ascertaining the truth and

          securing a just determination.”). Accordingly, the parties shall meet and

          confer in good faith and attempt to resolve any disputes regarding the

          admission into evidence of any exhibit or testimony, any proposed jury

          questionnaires or instructions, and any other matter set forth above in Section

          II prior to filing any motion or other paper seeking the Court’s determination

          on the issue.




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   IT IS SO ORDERED


   SIGNED 9th day of September, 2022.




                                                   s/ Claire C. Cecchi
                                                 ______________________
                                                 CLAIRE C. CECCHI
                                                 United States District Judge




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